                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                            Plaintiff,
                                                               Case No. 06-CR-226
              -vs-

EMILIO JARA BARRERA,
MARTIN CARDENAS,
ALCARIO RENEE CRUZ and,
JOSE RAMON ZAVALA-URBINA,

                            Defendants.


                                          ORDER


       The Court has reviewed Magistrate Judge Patricia J. Gorence’s Recommendation to this

Court denying the defendant Martin Cardenas’(“Cardenas”) motion to suppress statements. The

Court adopts the Magistrate Judge’s Recommendation in toto.

       Cardenas’ motion to suppress is DENIED.

       Dated at Milwaukee, Wisconsin, this 18th day of December, 2006.

                                                  SO ORDERED,


                                                  s/ Rudolph T. Randa
                                                  HON. RUDOLPH T. RANDA
                                                  Chief Judge




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